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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

SOCIAL POSITIONING INPUT              §
SYSTEMS, LLC,                         §
                                      §
      Plaintiff,                      §              Case No: 1:21-cv-11594-DLC
                                      §
vs.                                   §              PATENT CASE
                                      §
ACCUTRACKING, INC.,                   §
                                      §
      Defendant.                      §
_____________________________________ §

                         PLAINTIFF’S ANSWERS AND DEFENSES TO
                             DEFENDANT’S COUNTERCLAIMS

       Now comes Plaintiff, Social Positioning Input Systems, LLC (“Plaintiff,” “Counterclaim

Defendant,” or “SPIS”), by and through undersigned counsel, pursuant to Federal Rules of Civil

Procedure 12, without admission of the legal sufficiency thereof and responding only to the factual

allegations therein, and states as follows for its Answer and Defenses to Defendant and Counter

Plaintiff AccuTracking, Inc.’s (“Defendant,” “Counterclaim Plaintiff,” or “AccuTracking”)

Counterclaims [Doc. 7] (hereafter the “Counterclaims”) as follows:

                                            PARTIES

       1.      SPIS has insufficient knowledge of the allegations contained in paragraph 1 and

therefore denies same.

       2.      Admitted.

                                        JURISDICTION

       3.      SPIS incorporates by reference each of its answers in paragraphs 1-2 above.

       4.      Admitted.

       5.      Admitted.




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       6.      SPIS admits that venue is proper. SPIS denies any remaining allegations in

paragraph 6.

                                           COUNT I

       7.      SPIS incorporates by reference each of its answers in paragraphs 1-6 above.

       8.      SPIS admits that an actual controversy exists concerning infringement of the ‘365

Patent. SPIS denies any remaining allegations contained in paragraph 8.

       9.      Denied.

       10.     SPIS admits that AccuTracking seeks a declaratory judgment. SPIS denies any

remaining allegations contained in paragraph 10.

                                          COUNT II

       11.     SPIS incorporates by reference each of its answers in paragraphs 1-10 above.

       12.     SPIS admits that an actual controversy exists concerning infringement of the ‘365

Patent. SPIS denies any remaining allegations contained in paragraph 12.

       13.     Denied.

       14.     Denied.

       15.     SPIS admits that AccuTracking seeks a declaratory judgment. SPIS denies any

remaining allegations contained in paragraph 15.

       16.     Denied.

                                   PRAYER FOR RELIEF

       To the extent a response is required, SPIS denies that AccuTracking is entitled to any of

the relief requested.




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 Dated: November 16, 2021.                  Respectfully submitted,

                                            /s/ Brendan M. Shortell
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                                            ATTORNEYS FOR PLAINTIFF

                               CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true copy of the foregoing was filed
 electronically and served by operation of the Court’s electronic filing system on November 16,
 2021. Parties may access the foregoing through the Court’s system.


                                            /s/ Brendan M. Shortell
                                            Brendan M. Shortell (BBO# 675851)




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